                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                           )
                                                    )       Case No. 1:10-cr-158
 vs.                                                )
                                                    )       JUDGE COLLIER
 CLARENCE BROGDON                                   )



                               MEMORANDUM AND ORDER

        CLARENCE BROGDON (“Defendant”) appeared for an initial appearance before the
 undersigned on December 9, 2015, in accordance with Rule 32.1 of the Federal Rules of
 Criminal Procedure on the Petition for Warrant for Offender Under Supervision (“Petition”).

         After being sworn in due form of law, the Defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

         The Court determined that Defendant wished to be represented by an attorney and that he
 qualified for the appointment of an attorney to represent him at government expense.
 Consequently, the Court APPOINTED Federal Defender Services of Eastern Tennessee, Inc. to
 represent Defendant. Defendant was furnished with a copy of the Petition and the Warrant for
 Arrest, and had an opportunity to review those documents with his attorney. The Court
 determined that Defendant was capable of being able to read and understand the documents.

        The Defendant waived his right to a preliminary hearing and detention hearing.

       The Government moved the Defendant be detained pending a hearing to determine
 whether his term of supervision should be revoked.

                                            Findings

        (1) Based upon the Petition and Defendant =s waiver of preliminary hearing and
        detention hearing, the undersigned finds there is probable cause to believe the
        Defendant has committed violations of his conditions of supervised release as
        alleged in the Petition.




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                                        Conclusions

      It is ORDERED:

      (1) The Defendant shall appear in a revocation hearing before U.S. District
      Judge Curtis L. Collier.

      (2) The motion of the Government that defendant be DETAINED WITHOUT
      BAIL pending his revocation hearing before Judge Collier is GRANTED.

      (3) The U.S. Marshal shall transport the Defendant to a revocation hearing before
      Judge Collier on Thursday, December 17, 2015, at 2:00 pm.

      ENTER.

                                          s/Christopher H. Steger
                                          UNITED STATES MAGISTRATE JUDGE




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